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JUL 27 2020
3rd Ficor, Tamagawa Building, 1-20, SUSAN Y. SOONG
Yotsuya, Shinjuku-ku CLERK, U.S, DISTRICT COURT
Tokyo, Japan 160-0004 NORTH DISTRICT OF CALIFORNIA
TOKYO FLEX LAW OFFICE
Nakajima Hiroyuki, Attorney-at-Law
TEL +81—-8—3353—3521
FAX +8 1—3—-23356—-9228
MAIL nakajima@flex-law.gr.jp
Attorney for Nikkatsu Corporation.
July 24,2020
Via Email A CT

YouTube, LLC

Attn: Copyright Operations/ DMCA ‘320 th: eee 0 i ® 6MISC
901 Cherry Ave 8

San Bruno, CA 94066
Phone: 650-214-3010
Email: copyright@youtube.com

RE: NOTIFICATION OF COPYRIGHT INFRINGEMENT
(Pursuant to 17 U.S.C. § 512)

To whom it may concern:

I represent Nikkatsu Corporation, a Japanese corporation (hereinafter called.
“Nikkatsu”), the owner of the copyrighted works identified under the column entitled
“Original Work” in Exhibit A attached to this notice (“Exhibit A”).

It has recently come to Nikkatsu’s attention that certain users of your services
have unlawfully published and posted certain contents on:your website located at
www.youtube.com, more specifically identified under the column entitled “Infringing
Work” in Exhibit A (referted to as the “Infringing Work”), corresponding to each of the
Original Work identified in Exhibit A.

Nikkatsu has a good faith belief that the Infringing Work is not authorized by the
copyright owner, its agent, or the law. ,

We demand that you immediately disable access to the Infringing Work and cease
any use, reproduction, and distribution of the Original Work. Specifically, we request that
you remove or disable the Infringing Work from www.youtube.com and/or any of your
system or services.
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YouTube, LLC
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We also request a written assurance that you have fully complied with our request.
I declare that the information in this notice is accurate, and under penalty of
perjury, that I am authorized to act on behalf of the owner of the exclusive right of the

Original Work that is infringed.

Your immediate response will be appreciated.

Very truly yours,

Hiroyuki Nakajima
Attorney at Law
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Youtube,LLC
July 24,2020
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Exhibit A.
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EXHIBIT A

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